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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          )     Chapter 7
                                                                    )
    EVERGREEN INTERNATIONAL AVIATION,                               )     Case No. 13-13364 (MFW)
    INC., et al., 1                                                 )
                                                                    )     (Jointly Administered)
                              Debtors.                              )
                                                                    )

             NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

             PLEASE TAKE NOTICE that Nader A. Amer of Carlton Fields, P.A. hereby enters his

appearance in the above-captioned cases as counsel for World Fuel Services, Inc., pursuant to

section 1109(b) of title 11 of the United States Code, rules 2002, 3017(a), 9007, and 9010 of the

Federal Rules of Bankruptcy Procedure (as amended, the “Bankruptcy Rules”), and rule 2002-1(d)

of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court

for the District of Delaware (the “Local Rules”), and request that copies of any and all notices and

papers filed or entered in these cases be given to and served upon the following:

                                            CARLTON FIELDS, P.A.
                                            Nader A. Amer
                                            700 NW 1st Avenue, Suite 1200
                                            Miami, FL 33136
                                            Telephone: 305-530-0050
                                            Facsimile: 305-530-0055
                                            E-mail: namer@carltonfields.com

             PLEASE TAKE FURTHER NOTICE that this constitutes not only a request for service

of the notices and papers referred to in the Bankruptcy Rules and/or Local Rules specified above,

but also includes, without limitation, a request for service of all orders and notices of any


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      The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: Evergreen
      International Aviation, Inc. (9079); Evergreen Aviation Ground Logistics Enterprise, Inc. (6736); Evergreen
      Defense & Security Services, Inc. (0118); Evergreen International Airlines, Inc. (7870); Evergreen Systems
      Logistics, Inc. (0610); Evergreen Trade, Inc. (0952); and Supertanker Services, Inc. (3389).



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application, motion, petition, pleading, request, complaint, or demand, whether formal or informal,

whether written or oral, and whether transmitted or conveyed by mail, courier service, hand

delivery, telephone, facsimile transmission, telegraph, telex, or otherwise, that (1) affects or seeks

to affect in any way any rights or interests of any creditor or party in interest in these cases, with

respect to (a) the debtors in the above-captioned cases (the “Debtors”) and any related adversary

proceedings, whether currently pending or later commenced; (b) property of the Debtors’ estates,

or proceeds thereof, in which the Debtors may claim an interest; or (c) property or proceeds thereof

in the possession, custody, or control of others that the Debtors may seek to use; or (2) requires or

seeks to require any act or other conduct by a party in interest.

        PLEASE TAKE FURTHER NOTICE that this notice of appearance and any subsequent

appearance, pleading, claim, or suit is not intended nor shall be deemed to waive the rights of

World Fuel Services, Inc.: (1) to have an Article III judge adjudicate in the first instance any case,

proceeding, matter, or controversy as to which a bankruptcy judge may not enter a final order or

judgment consistent with Article III of the United States Constitution; (2) to have final orders in a

non-core case, proceeding, matter, or controversy entered only after an opportunity to object to

proposed findings of fact and conclusions of law and a de novo review by a district court judge;

(3) to have a trial by jury in any case, proceeding, matter, or controversy so triable; (4) to have the

reference withdrawn by the United States District Court in any case, proceeding, matter, or

controversy subject to mandatory or discretionary withdrawal; or (5) to any other rights, claims,

actions, defenses, setoffs, or recoupments to which World Fuel Services, Inc. is or may be entitled

under agreements, in law or in equity, all of which rights, claims, actions, defenses, setoffs, and

recoupments expressly are hereby reserved. For the avoidance of doubt, filing this notice is not

intended as, and shall not be, consent by World Fuel Services, Inc. to the entry of final orders and



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judgments in any case, proceeding, matter, or controversy if it is determined that the Court, absent

consent of World Fuel Services, Inc., cannot enter final orders or judgments consistent with Article

III of the United States Constitution.

Dated: July 26, 2022                              Respectfully submitted,

                                                     /s/ Nader A. Amer
                                                     Nader A. Amer (DE Bar No. 6635)
                                                     CARLTON FIELDS, P.A.
                                                     2 MiamiCentral
                                                     700 NW 1st Avenue, Suite 1200
                                                     Miami, Florida 33136-4118
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                                                     Attorneys for World Fuel Services, Inc.




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